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            EXHIBIT 2
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                            UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                 Case No. 16-md-02741-VC
LIABILITY LITIGATION
                                        MDL No. 2741



This document relates to:

ALL ACTIONS




                   EXPERT REPORT OF WILLIAM FLEMING, M.D., Ph.D.
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                                             CURRICULUM VITAE
                                                  June 2017

                                     William Harvard Fleming M.D., Ph.D.


PRESENT POSITION AND ADDRESS

Academic Rank:        Professor
Department/Division: Department of Medicine & Pediatrics
                      Papé Family Research Institute
                      Oregon Stem Cell Center
                      Knight Cancer Institute
                      Department of Cell & Developmental Biology
Professional Address: MC L321, 3181 SW Sam Jackson Park Rd, Portland, OR 97239
Email Address:        flemingw@ohsu.edu
Office Phone:         503-494-1554



EDUCATION

Undergraduate and graduate:

B.A. Philosophy, University of Winnipeg, Winnipeg, Manitoba, Canada               1979
M.D. Ph.D., Faculty of Medicine, Joint M.D./Ph.D. Program,                        1987
University of Manitoba, Winnipeg, Manitoba. Thesis Title: Human
Growth Hormone Mediated Oncogene Expression in Nb2 Lymphoma
Cells. Research Supervisors: Drs. Henry Friesen and Robert J. Matusik.

Postgraduate:

Intern and Medical Resident, Stanford University Hospital                         1987-1989
Oncology Fellow, Stanford University Medical Center                               1989-1993
Postdoctoral Fellow, Stanford University, Stanford, CA                            1990-1993
(Stem Cell Biology: Mentor Irving L. Weissman)

Licenses: Oregon Medical License (MD20761); California Medical License (A45492)

Current ABIM Board Certification: Medical Oncology


PROFESSIONAL EXPERIENCE


Faculty Appointments:

Assistant Professor of Medicine, Emory University                                 1993-1997
Assistant Professor, Winship Cancer Center, Emory University
Adjunct Assistant Professor, Department of Microbiology and Immunology
Adjunct Assistant Professor, Yerkes Regional Primate Center

Assistant Professor of Medicine, Oregon Health & Sciences University              1997-2001
         Case 3:16-md-02741-VC Document 2589-3 Filed 01/30/19 Page 15 of 29
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Adjunct Assistant Professor, Department of Cell and Developmental Biology
Adjunct Assistant Professor, Department of Microbiology and Immunology
Oregon Health & Sciences University
Member Oregon Cancer Institute

Associate Professor of Medicine                                                         2001-2008
Adjunct Associate Professor, Department of Cell and Developmental Biology
Adjunct Associate Professor, Department of Microbiology and Immunology
Oregon Health & Sciences University
Member, Oregon Cancer Institute

Professor of Medicine (Tenured )                                                        2008- Present
Professor of Pediatrics                                                                 2010- Present

Adjunct Professor, Department of Cell and Developmental Biology                         2008- Present
Adjunct Professor, Department of Microbiology and Immunology
Oregon Health & Science University
Member, OHSU Knight Cancer Institute

Member, Oregon Stem Cell Center                                                         2004- Present
Hematologic Malignancies Program
OHSU Knight Cancer Institute                                                            2004- Present

Administrative and Hospital Appointments:

Attending Physician BMT Program, Emory University Hospital                              1993-1997
Attending Physician, Grady Memorial Hospital, Atlanta GA
Attending Physician Leukemia/BMT Program, OHSU                                          1997-2013
Staff Physician (WOC), Hematology/Oncology Portland VA                                  2015-present
Director, Molecular Hematology Training Grant (T-32)                                    2006-2010
Leader, Hematologic Malignancies Program, Knight Cancer Institute                       2010-2015
Director, Pediatric Clinical Trials Office, OHSU                                        2013-2017

SCHOLARSHIP

Area(s) of Research/Scholarly Interest:

Hematopoietic stem cells, leukemia stem cells, endothelial cells, hematopoietic microenvironment

Ongoing Research Support:

R01DK109694-01A1                        Fleming (PI)                                  07/01/16-05/31/21

Rcor1 Regulates Myelomonocytic Progenitor Cell Fate. The goal of this proposal is to identify Rcor1 targets
that can be used to restore the normal differentiation program of myelomonocytic progenitor cells.


2P01HL048546-21A1                       Fleming (Core Director)                       09/01/16-05/31/21

Pathophysiology and Treatment of Fanconi Anemia. The goal of this proposal is to identify the therapeutic
potential of small molecule therapy for the treatment of bone marrow failure in FA.



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No number                                Fleming (Co-PI)                                 09/15/15-09/14/17

Fanconi Anemia Research Foundation (FARF)

A Porcine Model of Fanconi Anemia. The goal of this project is to create a large animal model to study the
pathophysiology of Fanconi anemia

No number                                Fleming (Co-PI)

V Foundation                                                                             09/01/14-09/01/17

Combination Therapy for KIT-mutant Cancer: an Integrated Systems Biology Approach

Using a systems biology approach, we will identify and validate novel molecular pathways that can be targeted
 in combination with KIT TKIs to synergistically inhibit the growth/survival of KIT-mutant cancer cells. Promising
combination treatments will be advanced to human clinical studies. Role: Co-Investigator for xenograft studies.

Recently Completed Research Support:

U19 AI091175-01                         Fleming (Project Leader)                          08/01/10-7/30/16

Stem Cell Based Therapies for Mitigation of Acute Radiation Syndrome. The major goal of this project is to
identify factors that mitigate acute irradiation syndrome.


Publications:

Fleming WH, Pettigrew NM, Matusik RJ, Friesen HG: Thymic origin of the prolactin dependent Nb2
lymphoma cell line. Cancer Res 42: 3138-3141, 1982.

Friesen HG, Elsholtz HE, Fleming WH, Shiu RPC: The Nb2 node lymphoma cells, PRL receptors and
mechanism of action of PRL. In: Shizume K, Imura H, Shimizu N, Endocrinology. Amsterdam, Exerpta
Medica, p. 244-250, 1983

Fleming WH, Murphy PR, Murphy LJ, Hatton TW, Matusik RJ, Friesen HG: Human growth hormone
induces and maintains c-myc expression in Nb2 lymphoma cells. Endocrinology 117: 2547-1549,
1985.

Fleming WH, Hamel A, MacDonald R, Ramsey E, Pettigrew NM, Johnston B, Dodd JG, Matusik RJ:
Expression of the c-myc proto-oncogene in human prostatic carcinoma and benign prostatic
hyperplasia. Cancer Res 46: 1535-1538, 1986.

Matusik RJ, Kries C, McNichol P, Sweetland R, Mullin C, Fleming WH, Dodd JG: Regulation of
prostatic genes: Role of androgens and zinc in gene expression. Biochem Cell Biol 64: 601-607, 1986

Matusik RJ, Fleming WH, Hamel A, Westenbrink TG, Hrabarchuk B, Pettigrew NM, Johnston B,
Gartner J, Ramsey E, MacDonald R, Dodd JG: Expression of the c-myc proto-oncogene in prostatic
tissue. Prog Clin Biol Res 239: 91-112, 1987.

Fleming WH, Alpern EJ, Uchida N, Ikuta K, Weissman IL: Steel factor influences the distribution and
activity of murine hematopoietic stem cell in vivo. Proc Natl Acad Sci USA 90: 3760-3764, 1993.


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W.H. Fleming, MD, PhD                                                                    06/2017

Fleming WH, Alpern EJ, Uchida N, Ikuta K, Spangrude GJ, Weissman IL: Functional heterogeneity is
associated with the cell cycle status of hematopoietic stem cells. J Cell Biol 122: 897-902, 1993.

Miller SC, Fleming WH, Zsebo KM, Weissman IL: The in vivo effects of stem cell factor on
hematopoietic and natural killer lineage cells in murine spleen and bone marrow. Nat. Immunity 12:
293-301, 1993.

Uchida N, Fleming WH, Alpern EJ, Weissman IL: Heterogeneity of hematopoietic stem cells. Curr
Opin Immunol 5: 177-184, 1993

Uchida N, Aguila HL, Fleming WH, Jerabek L, Weissman IL: Rapid and sustained hematopoietic
recovery in lethally irradiated mice transplanted with Thy1.1lo Lin-Sca-1+ hematopoietic stem cells.
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Chen G, Jaffrezou JP, Fleming WH, Duran GE, Sikic BI: Prevalence of the multidrug resistance related
to the activation of the mdr-1 gene in human sarcoma mutants derived by single step selection
doxorubicinand selection. Cancer Research 54:4980-4987, 1994.

Fleming WH, Weissman IL: Hematopoietic stem cells. In: Abeloff M, Armitage J, Lichter A,
Neiderhuber J (eds), Clinical Oncology. New York, Churchill Livingstone. p. 127-135, 1995.

Neal T, Holland HK, Villinger F, Ansari A, Baum CM, Saral R, Wingard JR, Fleming WH: CD34+
progenitors from asymptomatic patients are not a major reservoir for human immune deficiency virus-1.
Blood 86:1749-1756, 1995.

Turner CW, Yeager AM, Waller EK, Wingard, JR, Fleming WH: Engraftment potential of different
sources of human hematopoietic progenitor cells in BNX mice. Blood 87:3237-3244, 1996.

Archer DR, Turner CW, Yeager AM, Fleming WH: Sustained multilineage engraftment of allogeneic
hematopoietic stem cells in NOD/SCID mice after in utero transplantation. Blood 90:3222-3229, 1997.

Bomberger C, Jairam M, Rodey G, Guerriero A, Yeager AM, Fleming WH, Holland HK, Waller EK:
Lymphoid reconstitution following autologous PBSC transplantation with CD34+ progenitor cells. Blood
91:2588-2600,1998.

Turner CW Archer DR, Wong J,Yeager AM, Fleming WH: In utero transplantation of human fetal
haempoietic cells in NOD/SCID mice. Br. J. Haematol. 103:326-334, 1998.

Morris AC, Riley JL, Fleming WH, Boss, JM: MHC class II gene silencing in trophoblast cells is caused
by inhibition of CIITA expression. Am. J. Reprod. Immunol. 40:385-394, 1998.

Zeder K, Waller EK, Redie I, Connaghan DG, Fleming WH, Geller, RB, Heffner LT, Hillyer CD, Holden
J, Holland K, Jones W, McCollum J, Mogul M, Phillips C, Rodey G, Wingard JR, Winton E, Yeager AM,
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bone marrow transplantation. Cancer Research Therapy & Control 5:221-228, 1998

Fleming WH, Lankford-Turner P, Turner, CW, Wong J, Strobert E, McKearn JP: Administration of
daniplestim and granulocyte colony-stimulating factor for the mobilization of hematopoietic stem cells in
nonhuman primates. Biology of Blood and Marrow Transplantation. 5: 8-14, 1999.

Battaile KP, Bateman RL, Mortimer D, Mulcahy JM, Rathbun RK, Bagby G, Fleming WH, Grompe M:
In vivo selection of wild-type hematopoietic cells in a murine model of Fanconi Anemia. Blood 94:2151-
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W.H. Fleming, MD, PhD                                                                    06/2017


Fleming WH, Mulchay JM, McKearn JP, Streeter PR.: Progenipoietin-1: a multifunctional agonist of
the granulocyte colony-stimulating factor receptor and fetal liver tyrosine kinase-3 is apotent mobilizer
of hematopoietic stem cells. Exp. Hematol. 8:943-51, 2001

Montfort MJ, Olivares CR, Mulcahy JM, Fleming WH: Adult blood vessels restore host hematopoiesis
following lethal irradiation. Exp. Hematol. 30:950-956, 2002

Hayes-Lattin BM, Curtin PT, Fleming WH, et al. Toxic megacolon: a life-threatening complication of
high-dose therapy and autologous stem cell transplantation among patients with AL amyloidosis. Bone
Marrow Transplant 30:279-285, 2002

Streeter PR, Dudley LZ, Fleming WH: Activation of the G-CSF and Flt-3 receptors protects
hematopoietic stem cells from lethal irradiation. Exp Hematol 31:1119-25,2003

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Bailey AS, Jiang S, Afentoulis M, Baumann CI, Schroeder DA, Olson SB, Wong, MH, Fleming WH:
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Jiang S, Walker L, Afentoulis M, Anderson DA, Jauron-Mills, L, Corless CL, Fleming,WH:
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intracellular iron levels independently of transferrin receptor 1 in TRVb cells. Blood. 105:2564-
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Held PK, Al-Dhalimy M, Willenbring H, Akkari Y, Jiang S, Olson S, Fleming WH, Finegold M, Grompe
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Rizvi AZ, Swain JR, Bailey AS, Davies PS, Decker AD, Willenbring H, Grompe M, Fleming WH, Wong
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Spangrude GJ, Cho B, Guedelhoefer O,VanWoerkom RC, Fleming WH: Mouse models of
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W.H. Fleming, MD, PhD                                                                06/2017

Bailey AS, Willenbring H, Jiang S, Anderson DA, Schroeder DA, Wong MH, Grompe M, Fleming WH:
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Hui H, Huang J, Wang J, Jiang S, Bailey AS, Goldman DC, Welcker M, Bedell V, Slovak ML, Clurman
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mantle cell lymphoma. J. Exp. Med. 205: 1843-1858, 2008

Jiang S, Bailey AS, Wong MH, Streeter, PR, Fleming WH: Hematopoietic stem cells contribute to
lymphatic endothelium. PloS One 3 (11) e3812, 2008

Kampa KM, Acoba JD, Chen D, Gay J, Lee H-J, Beemer K, Padiernos E, Boonmark N, Zhu Z, Fan AC,
Bailey AS, Fleming WH, Corless C, Felsher DW, Naumovski L, Lopez CD: Apoptosis stimulating
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response thresholds. Proc Natl Acad Sci USA 106:4390-4395, 2009

Goldman DC, Bailey AS, Pfaffle DL, Al Masri A, Christian JL, Fleming WH: BMP-4 regulates of
hematopoietic stem cell niche. Blood 114:4393-4401, 2009

Li B, Bailey AS, Goldman DC, Jiang S, Liu B, Fleming WH: Endothelial cells mediate the regeneration
of hematopoietic stem cells. Stem Cell Res. 4:17-24, 2010

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cytomegalovirus in a latently infected humanized mouse model. Cell Host & Microbe 8 :284-91, 2010.

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and microenvironment of Fancd2 deficient mice. Fancd2-/- mice have hematopoietic defects that can
be partially corrected by resveratrol. Blood 116:5140-8, 2010.


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modulates cell type-specific outcomes of infection. PLoS Pathog. 2011 Dec;7(12):e1002444. PubMed
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Tyner JW, Yang WF, Bankhead A 3rd, Fan G, Fletcher LB, Bryant J, Glover JM, Chang BH, Spurgeon
SE, Fleming WH, Kovacsovics T, Gotlib JR, Oh ST, Deininger MW, Zwaan CM, Den Boer ML, van den
Heuvel-Eibrink MM, O'Hare T, Druker BJ, Loriaux MM: Kinase pathway dependence in primary human
leukemias determined by rapid inhibitor screening. Cancer Res. 2013 Jan 1;73(1):285-96.
Zachman DK, Leon LP*1,2, Das P, Goldman DC, Hamlin KL, Guha C, William H. Fleming WH:
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radiation injury. Stem Cell Res. 2013 Nov;11(3):1013-21.




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W.H. Fleming, MD, PhD                                                                 06/2017

Hakki M, Goldman DC, Streblow DN, Hamlin KL, Krekylwich CN, Fleming WH, Nelson JA. HCMV
infection of humanized mice after transplantation of G-CSF mobilized peripheral blood stem cells from
HCMV-seropositive donors. Biol Blood Marrow Transplant. 2014 Jan 20(1):132-5. PMID: 24161922

Yao H, Goldman DC, Nechiporuk T, Kawane S, McWeeney SK, Tyner JW, Fan G, Kerenyi MA, Orkin
SH, Fleming WH, Mandel G. Corepressor Rcor1 is essential for murine erythropoiesis. Blood 2014;
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Cogle CR, Goldman DC, Madlambayan GJ, Leon RP, Al Masri A, Clark HA, Asbaghi SA, Tyner JW,
Dunlap J, Fan G, Kovacsovics T, Liu Q, Meacham A, Hamlin KL, Hromas RA, Scott EW, Fleming WH.
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Yao H, Goldman DC, Nechiporuk T, Kawane S, McWeeney SK, Tyner JW, Fan G, Kerenyi MA, Orkin
SH, Fleming WH, Mandel G. Corepressor Rcor1 is essential for murine erythropoiesis. Blood. 2014
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Goldman GC, Alexeev V, Lash E, Guha C, Ulrich Rodeck U. Fleming WH. The triterpenoid RTA 408 is
a robust mitigator of hematopoietic acute radiation syndrome in mice. Rad. Res. 2015 Mar;183(3):338-
44
P OB, Vaitheesvaran B, Saha S, Hartil K, Chen EI, Goldman D, Fleming WH, Kurland IJ, Guha C,
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injury. Int J Radiat Oncol Biol Phys 2015 Mar. 91: 360-7


Yao H, Goldman DC, Fan G, Mandel G, Fleming WH.The co-repressor Rcor1 is essential for normal
myeloerythroid lineage differentiation. Stem Cells 2015; 33: 3304-3314. PMID:26119982

Patents:

METHOD FOR ENHANCING HEMATOPOIESIS
U.S. Patent No. 6,060,643

MOUSE MODEL WITH HUMAN IMMUNE SYSTEM
U.S. Patent No. 6,821,513

ENHANCEMENT OF HEMATOPOIETIC STEM CELL SURVIVAL
Patent Pending

Invited Lectures, Conference Presentations or Professorships (Selected)

International and National:

Fondation des Treilles, Paris, France
Department of Biochemistry Melbourne, Australia
Institute for Stem Cell Research, Edinburgh, Scotland
International Society of Experimental Hematology, Presidential Symposium, Glasgow Scotland
International Symposia on In Utero Stem Cell Transplantation, Venice Italy
University of New Mexico Cancer Center, Albuquerque, NM
Fred Hutchinson Cancer Research Center, Seattle, WA
Stem Cell Biology Program, University of Southern California, L.A., CA
Stem Cell Biology Program, Case Western University, Cleveland, OH
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Stem Cell Biology Program, City of Hope, Duarte, CA
American Society of Hematology (Session Chair, Stem Cell Plasticity)
Gordon Research Conference (Vascular Biology), Santa Barbara, CA
Egelston Children’s Hospital Emory University, Atlanta, GA
Montagna Symposium, Stem Cells in Skin, Snowmass, CO
Cancer Research Institute, University of Indiana, Indianapolis, ID
Stem Cell Biology Program, University of Florida, Gainesville, FL
Stem Cell Biology Program, Washington University School of Medicine, St. Louis MO
NIH NHLBI Stem Cell Investigators Meeting, Bethesda MD
Institute for Genetic Medicine, University of Southern California, L.A., CA
Department of Medicine, Santa Clara Valley Medical Center, San Jose CA
Division of Hematology, Mount Sinai School of Medicine, New York NY
Division of Hematology & Oncology, MUSC, Charleston SC
Department of Medical Microbiology, Immunology & Cell Biology, SIU, Springfield IL
Hematologic Malignancies Program, University of Florida Shands, Gainesville FL
9th International Myeloid Conference, Cincinnati Children’s Hospital

Regional and Local:

Oregon Graduate Institute (Biomedical Engineering), Beaverton, OR
Cell and Developmental Biology Seminar Series, OHSU
Hematology and Medical Oncology Fellows Research Retreat
Pulmonary Division Research Conference OHSU
Pediatric Hematology/Oncology Research Conference OHSU
Heart Research Center OHSU
Clinical Transplant Conference OHSU
Department of Medicine, Willamette Valley Medical Center, Oregon City, OR
Markham Hill Lecture Series, Portland, OR

SERVICE

Membership in Professional Societies:

American Society of Hematology
American Society for Blood and Marrow Transplantation
International Society for Stem Cell Research
International Society for Experimental Hematology

Peer Review Activities:

2001-2005    American Cancer Society: Leukemia, Immunology & Blood Cell Development
             Study Section (Regular Member)
2002         BioScience Foundation (Israel)
2003         Austrian Science Fund
2004         NIH Special Emphasis Panel Stem Cell Biology (NIA)
2004-2008    NIH Hematopoiesis Study Section (HP) (ad hoc member)
2008         NHLBI T-32 Review Group (ad hoc member)
2006-2010    NIH NCI P-30 Initial Review Group (ad hoc member)
2009-2013    NIH Molecular and Cellular Hematology Study Section (Regular member)
2005-present NIH NHLBI Special Emphasis Panels
2014-present NIH NIDDK Special Emphasis Panels


Journal Editorial and Ad Hoc Review Activities:
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Editorial Board, Stem Cell Research 2010- present.
Science
Nature
Nature Medicine
PNAS
New England Journal of Medicine
Journal of Clinical Investigation
Blood
Cancer Research
Stem Cells
Experimental Hematology
Journal of Physiology
Cytometry

Committees:

Institutional and Regional: (OHSU)

2001-2007 IRB (Institutional Review Board)
2004-2005 Oregon Stem Cell Center Steering Committee
2006-Present Oregon Stem Cell Center Search Committee
2006         BMT/Leukemia Discharge Committee
2006-Present TALENT Program
2006-Present Oregon Stem Cell Center Faculty Search Committee
2006-2012 M.D. Ph.D Program Committee
2006-2011 Hematology & Medical Oncology Fellowship Committee

Community Service:

2001         Markham Hill Lecture Series, Portland, OR
2004         American Cancer Society, (Oregon)
2004-Present Oregon Cancer Institute, CURE Program for Minority Students
2005-Present OHSU High School Science Class Program (PSI)
2005-Present Murdock Scholars Program
2006         Grand Rounds, Willamette Valley Medical Center, Oregon City, OR
2007-Present Leukemia & Lymphoma Society /ONS


Clinical Service:

1997-2010    Attending Physician: Inpatient BMT/Leukemia Service
1997-2013    Attending Physician: BMT/Leukemia Outpatient Clinic
2015-present Attending Physician (WOC): Hematology/Oncology Portland VA

TEACHING:

Medical Student and Undergraduate Teaching:

1993-1997     Emory University
Member        Department of Graduate Studies
Member        Immunology and Molecular Pathogenesis Program
Member         Executive Committee, Immunology and Molecular Pathogenesis Program
Courses       Research Topics in Immunology, Immunology Colloquium
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1997-Present Undergraduate Medicine (Second Year Blood Course)
2004-Present Cure Program (OCI)
2006-Present Partnership for Scientific Inquiry (Casey Eye Institute)
2006-2012    Bench to Bedside (M.D. Ph.D. Program)

Clinical Teaching:

1993-1997     Attending Physician BMT Program, Emory University Hospital
1993-1997     Attending Physician, General Medicine, Grady Memorial Hospital, Atlanta GA
              1997-2000     Medicine House Staff Lecture Series (OSHU)
              1997-2010     Attending Physician: Inpatient BMT/Leukemia Service (OHSU)
              1997-2013     Attending Physician: BMT/Leukemia Outpatient Clinic (OHSU)

Graduate Student Teaching:

1993-1997     Courses, Research Topics In Immunology Colloquium (Emory University)
1993-1997     Member, Immunology and Molecular Pathogenesis Program (Emory University)
1993-1997     Member, Executive Committee, Immunology and Molecular Pathogenesis Program
              1997-Present PMCB Graduate Courses (CON 665, CELL 605, CELL 616 all at OHSU)

Former Pre and Postdoctoral Research Trainees:

Eytan Alpern, M.D.
Thomas Neal M.D.
David Archer Ph.D.
Curtis Turner M.D.
Megan Montfort Ph.D
Jean Mulcahy M.D.
Christopher Olivares M.D.
David Schroeder M.D.
Bei Li M.D.
Shugang Jiang M.D. Ph.D
Luke Walker M.D.
Christina Baumann M.D.
Holger Willenbring M.D.
Devorah Goldman Ph.D.
Azzah Masri Ph.D
Ronn Leon Ph.D
Derek Zachman M.D., Ph.D

Current Pre and Postdoctoral Research Trainees:

2011- 2016    Derek Zachman         MD/PhD student


Service and Membership on Educational Committees:

Past Ph.D. Thesis Advisory Committees:

(Jack Lee, Gokhan Dalgin Ph.D., Maclaine Pahl, Patrice Held Ph.D.)


Current Ph.D. Thesis Advisory Committees:

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W.H. Fleming, MD, PhD                                                            06/2017

(Alison Macleod, Branden Tarlow, Ashley Kamimae-Lanning, Hulian Yao, Derek Zachman)

2006-2012    M.D. Ph.D. Program Admissions Committee

2006-2012    Hematology & Medical Oncology Fellowship Committee

2006-2010    Molecular Hematology Training Program Advisory Committee




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